       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 1 of 20




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ANNIE LOIS GRANT, et al.,

       Plaintiffs,
                                            CIVIL ACTION
v.
                                            FILE NO. 1:22-CV-00122-SCJ
BRAD RAFFENSPERGER, et al.,

       Defendants.


       DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT

      Defendants Brad Raffensperger, in his official capacity as Secretary of

the State of Georgia; and Sara Tindall Ghazal, Janice Johnston, Edward

Lindsey, and Matthew Mashburn, in their official capacities as members of

the State Election Board (collectively, the “Defendants”), answer Plaintiffs’

Complaint [Doc. 1] (the “Complaint”) as follows:

                     FIRST AFFIRMATIVE DEFENSE

      The allegations in Plaintiffs’ Complaint fail to state a claim upon which

relief may be granted.

                     SECOND AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred for failure to name necessary and

indispensable parties.



                                       1
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 2 of 20




                    THIRD AFFIRMATIVE DEFENSE

      Plaintiffs lack constitutional standing to bring this action.

                   FOURTH AFFIRMATIVE DEFENSE

      Plaintiffs lack statutory standing to bring this action.

                    FIFTH AFFIRMATIVE DEFENSE

      Plaintiffs’ federal claims against Defendants are barred by the

Eleventh Amendment to the United States Constitution.

                     SIXTH AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred by sovereign immunity.

                  SEVENTH AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred because Section 2 of the Voting Rights Act

provides no provide right of action.

                   EIGHTH AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred because they should be heard by a three-

judge panel.

                     NINTH AFFIRMATIVE EFENSE

      Defendants deny that Plaintiffs have been subjected to the deprivation

of any right, privilege, or immunity under the Constitution or laws of the

United States.




                                        2
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 3 of 20




                    TENTH AFFIRMATIVE DEFENSE

      Defendants reserve the right to amend their defenses and to add

additional ones, including lack of subject matter jurisdiction based on the

mootness or ripeness doctrines, as further information becomes available in

discovery.



      Defendants answer the specific numbered paragraphs of Plaintiffs’

Complaint as follows:

      1.     Paragraph 1 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

      2.     Defendants deny the allegations set forth in Paragraph 2 of the

Complaint.

      3.     Defendants deny the allegations set forth in Paragraph 3 of the

Complaint.

      4.     Defendants deny the allegations set forth in Paragraph 4 of the

Complaint.

      5.     Paragraph 5 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

                                       3
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 4 of 20




      6.     Defendants deny the allegations set forth in Paragraph 6 of the

Complaint.

      7.     Paragraph 7 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied and Defendants further

deny that Plaintiffs are entitled to any relief.

      8.     Defendants admit that this Court has federal-question

jurisdiction for claims arising under the Voting Rights Act. Defendants deny

the remaining allegations set forth in Paragraph 8 of the Complaint.

      9.     Defendants deny the allegations set forth in Paragraph 9 of the

Complaint.

      10.    Defendants admit the allegations set forth in Paragraph 10 of the

Complaint.

      11.    The allegations in Paragraph 11 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      12.    The allegations in Paragraph 12 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      13.    The allegations in Paragraph 13 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.




                                        4
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 5 of 20




      14.   The allegations in Paragraph 14 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      15.   The allegations in Paragraph 15 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      16.   The allegations in Paragraph 16 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      17.   The allegations in Paragraph 17 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      18.   The allegations in Paragraph 18 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      19.   Defendants admit that Secretary Raffensperger is the Secretary

of State of Georgia and that the Secretary of State is designated by statute as

the chief election official. Defendants further admit that the Secretary has

responsibilities under law related to elections. Defendants deny the

remaining allegations contained in Paragraph 19 of the Complaint.

      20.   Defendants admit that Sara Tindall Ghazal is a member of the

State Election Board and is named in her official capacity. Defendants

further admit that the duties of members of the State Election Board are set

forth in statute and refer the Court to the cited authority for a full and

accurate statement of its contents and deny any allegations inconsistent

                                        5
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 6 of 20




therewith. Defendants deny the remaining allegations contained in

Paragraph 20 of the Complaint.

      21.    Defendants deny that Anh Le is a member of the State Election

Board, but further state that Janice Johnston replaced her. Defendants

further admit that the duties of members of the State Election Board are set

forth in statute and refer the Court to the cited authority for a full and

accurate statement of its contents and deny any allegations inconsistent

therewith. Defendants deny the remaining allegations contained in

Paragraph 21 of the Complaint.

      22.    Defendants admit that Edward Lindsey is a member of the State

Election Board and is named in his official capacity. Defendants further

admit that the duties of members of the State Election Board are set forth in

statute and refer the Court to the cited authority for a full and accurate

statement of its contents and deny any allegations inconsistent therewith.

Defendants deny the remaining allegations contained in Paragraph 22 of the

Complaint.

      23.    Defendants admit that Matthew Mashburn is a member of the

State Election Board and is named in his official capacity. Defendants further

admit that the duties of members of the State Election Board are set forth in

statute and refer the Court to the cited authority for a full and accurate

                                        6
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 7 of 20




statement of its contents and deny any allegations inconsistent therewith.

Defendants deny the remaining allegations contained in Paragraph 23 of the

Complaint.

     24.     Paragraph 24 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

     25.     Paragraph 25 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

     26.     Paragraph 26 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

     27.     Paragraph 27 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

     28.     Paragraph 28 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.




                                       7
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 8 of 20




      29.    Paragraph 29 of the Complaint and its subparagraphs set forth

legal conclusions to which no response is required and, therefore, Defendants

deny the same. The remaining allegations in this Paragraph are denied.

      30.    Paragraph 30 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same. The

remaining allegations in this Paragraph are denied.

      31.    Defendants admit the allegations set forth in Paragraph 31 of the

Complaint.

      32.    Defendants admit that, as a percentage of the electorate, the

white percentage has decreased and the percentage of voters of color has

increased over the last ten years. The remaining allegations in Paragraph 32

of the Complaint are outside Defendants’ knowledge and are therefore denied

on that basis.

      33.    Defendants deny the allegations set forth in Paragraph 33 of the

Complaint.

      34.    Defendants admit the allegations set forth in Paragraph 34 of the

Complaint.

      35.    Defendants admit the allegations set forth in Paragraph 35 of the

Complaint.




                                       8
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 9 of 20




      36.    Defendants admit the allegations set forth in Paragraph 36 of the

Complaint.

      37.    Defendants deny the allegations set forth in Paragraph 37 of the

Complaint.

      38.    Defendants admit that Democratic members of the General

Assembly opposed the as-passed redistricting plans and made public

comments indicating that opposition. Defendants deny the remaining

allegations set forth in Paragraph 38 of the Complaint.

      39.    Defendants admit that Democratic members of the General

Assembly opposed the as-passed redistricting plans and made public

comments indicating that opposition. Defendants deny the remaining

allegations set forth in Paragraph 39 of the Complaint.

      40.    Defendants deny the allegations set forth in Paragraph 40 of the

Complaint.

      41.    Defendants deny the allegations set forth in Paragraph 41 of the

Complaint.

      42.    Defendants deny the allegations set forth in Paragraph 42 of the

Complaint.

      43.    Defendants deny the allegations set forth in Paragraph 43 of the

Complaint.

                                       9
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 10 of 20




      44.    Defendants deny the allegations set forth in Paragraph 44 of the

Complaint.

      45.    Defendants deny the allegations set forth in Paragraph 45 of the

Complaint.

      46.    Defendants deny the allegations set forth in Paragraph 46 of the

Complaint.

      47.    Defendants deny the allegations set forth in Paragraph 47 of the

Complaint.

      48.    Paragraph 48 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same.

Defendants admit that Black and white voters in Georgia vote in blocs and

prefer different candidates. The remaining allegations in this Paragraph are

denied.

      49.    Defendants admit that Black and white voters in Georgia vote in

blocs and prefer different candidates. Defendants deny the remaining

allegations set forth in Paragraph 49 of the Complaint.

      50.    Defendants admit that Black and white voters in Georgia vote in

blocs and prefer different candidates. Defendants deny the remaining

allegations set forth in Paragraph 50 of the Complaint.




                                      10
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 11 of 20




      51.   Defendants admit that Black and white voters in Georgia vote in

blocs and prefer different candidates. Defendants deny the remaining

allegations set forth in Paragraph 51 of the Complaint.

      52.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. Defendants deny the

remaining allegations set forth in Paragraph 52 of the Complaint.

      53.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 53 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      54.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 54 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      55.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 55 of the Complaint set forth legal conclusions to which no




                                       11
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 12 of 20




response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      56.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 56 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      57.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 57 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      58.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 58 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      59.   Defendants admit that Democratic representatives in the 1981

redistricting process sought to minimize Black political influence in Georgia

The remaining allegations of Paragraph 59 of the Complaint set forth legal

                                       12
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 13 of 20




conclusions to which no response is required or are beyond the scope of

Defendants’ knowledge and, therefore, Defendants deny the same.

      60.   Defendants admit that plans drawn when Democrats controlled

Georgia government were objected to in 1971, 1981, 1991, and 2001 and that

redistricting plans drawn when Democrats controlled Georgia government

were rejected as unconstitutional in 2004. The remaining allegations of

Paragraph 60 of the Complaint set forth legal conclusions to which no

response is required and, therefore, Defendants deny the same.

      61.   Defendants admit that, prior to 2013, Georgia was a covered

jurisdiction under Section 4 of the Voting Rights Act and was required to seek

preclearance of election laws prior to enforcement. The remaining allegations

in Paragraph 61 set forth legal conclusions to which no response is required

and, therefore, Defendants deny the same.

      62.   Defendants admit that, prior to 2013, Georgia was a covered

jurisdiction under Section 4 of the Voting Rights Act and was required to seek

preclearance of election laws prior to enforcement. The remaining allegations

in Paragraph 62 set forth legal conclusions to which no response is required

and, therefore, Defendants deny the same.

      63.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

                                     13
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 14 of 20




Paragraph 63 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

     64.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 64 of the Complaint set forth legal conclusions to which no

response is required and, therefore, Defendants deny the same.

     65.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 65 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

     66.   The allegations in Paragraph 66 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     67.   The allegations in Paragraph 67 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     68.   The allegations in Paragraph 68 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     69.   The allegations in Paragraph 69 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

                                       14
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 15 of 20




     70.   The allegations in Paragraph 70 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     71.   The allegations in Paragraph 71 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     72.   The allegations in Paragraph 72 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     73.   The allegations in Paragraph 73 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     74.   The allegations in Paragraph 74 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     75.   The allegations in Paragraph 75 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     76.   The allegations in Paragraph 76 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

     77.   Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 77 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.




                                       15
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 16 of 20




      78.    Defendants admit that Georgia has a past history of state-

sanctioned discrimination against Black voters. The remaining allegations of

Paragraph 78 of the Complaint set forth legal conclusions to which no

response is required or are beyond the scope of Defendants’ knowledge and,

therefore, Defendants deny the same.

      79.    The allegations in Paragraph 79 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      80.    The allegations in Paragraph 80 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      81.    The allegations in Paragraph 81 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      82.    The allegations in Paragraph 82 of the Complaint are outside

Defendants’ knowledge and are therefore denied on that basis.

      83.    Defendants deny the allegations set forth in Paragraph 83 of the

Complaint.

      84.    Defendants incorporate their responses to Paragraphs 1 through

83 as if fully set forth herein.

      85.    Paragraph 85 of the Complaint sets forth legal conclusions to

which no response is required and, therefore, Defendants deny the same.




                                       16
       Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 17 of 20




      86.    Defendants deny the allegations set forth in Paragraph 86 of the

Complaint.

      87.    Defendants deny the allegations set forth in Paragraph 86 of the

Complaint.

      88.    Defendants deny the allegations set forth in Paragraph 88 of the

Complaint.

      89.    Defendants deny the allegations set forth in Paragraph 89 of the

Complaint.

      90.    Defendants deny the allegations set forth in Paragraph 90 of the

Complaint.

      91.    Defendants deny the allegations set forth in Paragraph 91 of the

Complaint.

      92.    Defendants incorporate their responses to Paragraphs 1 through

91 as if fully set forth herein.

      93.    Defendants deny the allegations set forth in Paragraph 93 of the

Complaint.

      94.    Defendants deny the allegations set forth in Paragraph 94 of the

Complaint.

      95.    Defendants deny the allegations set forth in Paragraph 95 of the

Complaint.

                                      17
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 18 of 20




      96.    Defendants deny the allegations set forth in Paragraph 96 of the

Complaint.

      97.    Defendants deny the allegations set forth in Paragraph 97 of the

Complaint.

      98.    Defendants deny the allegations set forth in Paragraph 98 of the

Complaint.

                              Prayer for Relief

      Defendants deny that Plaintiffs are entitled to any relief they seek.

Defendants further deny every allegation not specifically admitted in this

Answer.



      Respectfully submitted this 25th day of February, 2022.

                                    Christopher M. Carr
                                    Attorney General
                                    Georgia Bar No. 112505
                                    Bryan K. Webb
                                    Deputy Attorney General
                                    Georgia Bar No. 743580
                                    Russell D. Willard
                                    Senior Assistant Attorney General
                                    Georgia Bar No. 760280
                                    Charlene McGowan
                                    Assistant Attorney General
                                    Georgia Bar No. 697316
                                    State Law Department
                                    40 Capitol Square, S.W.
                                    Atlanta, Georgia 30334

                                      18
Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 19 of 20




                            /s/ Bryan P. Tyson
                            Bryan P. Tyson
                            Special Assistant Attorney General
                            Georgia Bar No. 515411
                            btyson@taylorenglish.com
                            Frank B. Strickland
                            Georgia Bar No. 678600
                            fstrickland@taylorenglish.com
                            Bryan F. Jacoutot
                            Georgia Bar No. 668272
                            bjacoutot@taylorenglish.com
                            Loree Anne Paradise
                            Georgia Bar No. 382202
                            lparadise@taylorenglish.com
                            Taylor English Duma LLP
                            1600 Parkwood Circle
                            Suite 200
                            Atlanta, Georgia 30339
                            (678) 336-7249
                            Counsel for Defendants




                              19
      Case 1:22-cv-00122-SCJ Document 83 Filed 02/25/22 Page 20 of 20




                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT has

been prepared in Century Schoolbook 13, a font and type selection approved

by the Court in L.R. 5.1(B).

                                    /s/ Bryan P. Tyson
                                    Bryan P. Tyson




                                     20
